Case 1:19-cv-00874-RBJ-MEH Document 93 Filed 12/04/19 USDC Colorado Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No.: 19-cv-00874-RBJ-MEH

  WARNER RECORDS INC., et al.,

         Plaintiffs,

  v.

  CHARTER COMMUNICATIONS, INC.,

         Defendant.



    PLAINTIFFS’ OPPOSITION TO CHARTER’S MOTION FOR LEAVE TO FILE A
  REPLY BRIEF IN FURTHER SUPPORT OF ITS OBJECTION TO THE MAGISTRATE
    JUDGE’S RECOMMENDATION TO DENY CHARTER’S MOTION TO DISMISS


         Unsatisfied with the exhaustive briefing that has already been submitted in connection

  with Magistrate Judge Hegarty’s well-reasoned Recommendation to deny Charter’s motion to

  dismiss, Charter now seeks leave to file a reply in further support of its Objection. (See Dkt. No.

  90.)1 Charter’s request is improper. Federal Rule of Civil Procedure 72 does not permit a party

  to file a reply in support of an objection absent “exceptional circumstances,” and here, Charter’s

  proposed reply merely restates arguments that it has already made. Accordingly, Charter’s

  motion for leave should be denied.



  1
   In its motion for leave, Charter suggests that it has filed a “Motion for Summary Judgment” on
  Plaintiffs’ vicarious infringement claim. (See Dkt. No. 90, at 1.) Charter has filed no such
  motion; the motion at issue was brought under Rule 12(b)(6) and the question is whether
  Plaintiffs have adequately pled their claim, not whether they have adduced at this early stage
  evidence sufficient to prevail as a matter of law.
Case 1:19-cv-00874-RBJ-MEH Document 93 Filed 12/04/19 USDC Colorado Page 2 of 5




                                              ARGUMENT

           Federal Rule of Civil Procedure 72 “does not countenance a reply to a response to a

  party’s objections.” Aurzadniczek v. Humana Health Plan, Inc., 2016 WL 1266972, at *1 n.2

  (D. Colo. Apr. 1, 2016). Instead, a reply may be filed only with leave of the Court, and even

  then, only in “exceptional circumstances.” Raymond v. Spirit AeroSystems Holdings, Inc., 2017

  WL 3895012, at *8 (D. Kan. Sept. 6, 2017). Here, Charter makes no attempt to show that

  “exceptional circumstances” exist, nor can it. To the contrary, the relevant considerations

  counsel against permitting Charter to file yet another brief in support of its position.

           First, the parties have extensively briefed the issues in dispute. Charter has filed 36

  pages of briefing on whether Plaintiffs have adequately pled a vicarious infringement claim, and

  Plaintiffs have filed 35 pages of briefing. (See Dkt Nos. 38, 50, 56, 82-1, 87.) “Responses and

  replies have to end somewhere, and under Rule 72(b) they end with each party’s response to the

  other’s objections.” Joseph v. Abrams, 2015 U.S. Dist. LEXIS 140587, at *1 (D. Guam Oct. 13,

  2015).

           Second, Charter’s proposed reply merely parrots arguments that it already has made. For

  example, Charter claims that a reply brief is merited “in particular” so that it may “distinguish

  Capitol Records, LLC v. Escape Media Grp.,” a case cited in Plaintiffs’ response to Charter’s

  Objection. (Dkt. No. 90.) But Plaintiffs first cited Escape Media in their opposition to Charter’s

  motion to dismiss, (Dkt. No. 50, at 2, 7, 11, 13), and Charter addressed the case in its reply to

  that opposition, (Dkt. No. 56, at 1-2, 4). There is no reason for Charter to file a second reply to




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Case 1:19-cv-00874-RBJ-MEH Document 93 Filed 12/04/19 USDC Colorado Page 3 of 5




  restate an argument it has already made.2 To the contrary, courts routinely deny leave to file

  reply briefs on this basis. See Aurzadniczek, 2016 WL 1266972, at *1 n.2 (declining to consider

  reply that “restates . . . the same arguments and responses that have been stated [in previous

  briefing]”); see also Holick v. Burkhart, 2018 WL 4052154, at *5 (D. Kan. Aug. 24, 2018)

  (declining to consider reply that “largely reasserts the arguments in [party’s] initial objection”).3

                                            CONCLUSION

         For all of these reasons, Charter’s motion for leave should be denied.




  2
   The duplication does not end with Escape Media. In addition to “distinguish[ing]” that case,
  Charter’s proposed reply goes on to address several other cases that the parties have already
  discussed. (See Dkt. No. 90-1, at 2-4 (citing Ellison v. Robertson, 357 F.3d 1072 (9th Cir. 2004)
  and A&M Records v. Napster, Inc., 239 F.3d 1004 (9th Cir. 2001)).) Charter’s proposed reply
  merely quotes the same passages from these cases that Charter quoted in its Objection.
  (Compare, e.g., id. at 4 with Dkt. No. 82-1, at 10.)
  3
    To the extent that Charter’s proposed reply does not completely duplicate prior briefing, its
  arguments are erroneous. For example, Charter’s proposed reply implies that the court dismissed
  the vicarious liability claim in BMG Rights Management (US) LLC v. Cox Communications, Inc.
  (See Dkt. No. 90-1, at n.1 (citing 149 F. Supp. 3d 634 (E.D. Va. 2015)).) In reality, the Cox
  court permitted a vicarious infringement claim to proceed to trial because “[a] reasonable trier of
  fact could conclude that some percentage of Cox customers were drawn to Cox’s internet service
  at least in part to download music, including BMG’s copyrighted works, using BitTorrent.” Cox,
  149 F. Supp. 3d at 676.

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Case 1:19-cv-00874-RBJ-MEH Document 93 Filed 12/04/19 USDC Colorado Page 4 of 5




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Case 1:19-cv-00874-RBJ-MEH Document 93 Filed 12/04/19 USDC Colorado Page 5 of 5




                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies on this 4th day of December 2019, a true and correct

  copy of the foregoing Plaintiffs’ Opposition to Charter’s Motion for Leave to File a Reply Brief

  in Further Support of Its Objection to the Magistrate Judge’s Recommendation to Deny

  Charter’s Motion to Dismiss was served electronically via CM/ECF on the following:

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